CHICAGO FIRE BRICK CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Chicago Fire Brick Co. v. CommissionerDocket No. 11063.United States Board of Tax Appeals10 B.T.A. 180; 1928 BTA LEXIS 4166; January 25, 1928, Promulgated *4166  Basis for computing gain from the sale of certain real estate determined.  William J. Gilbert, for the petitioner.  James A. O'Callaghan, Esq., for the respondent.  MARQUETTE *180  This proceeding is for the redetermination of a deficiency in income and profits taxes asserted by the respondent for the calendar year 1920 in the amount of $3,421.89.  FINDINGS OF FACT.  The petitioner is an Illinois corporation with its principal office and place of business at Chicago, Ill.  In the year 1906 petitioner purchased a tract of land located in Chicago for $11,000, and shortly thereafter it constructed on the land a switch tract at a cost of $1,851.60.  In 1920 petitioner sold the tract of land mentioned, together with the improvement thereon, for $23,000.  The respondent upon audit of the petitioner's return for 1920 determined that the fair market value of the land and improvement on March 1, 1913, was $15,005.83, and that the petitioner had realized a profit of $7,994.17 from the sale thereof.  The fair market value of the land on March 1, 1913, exclusive of the switch track, was $18,789.75.  OPINION.  MARQUETTE: We are satisfied from the*4167  evidence presented in this proceeding that the fair market value of the land in question on March 1, 1913, exclusive of the switch track, was $18,789.75; that the switch tract was constructed at a cost of $1,851.60, and that these amounts should be taken as a basis for computing the profit derived by petitioner from the sale of the land and switch track in the year 1920.  The petitioner also alleged in its petition that it paid broker-age fees on the sale of the land amounting to $1,447.20, which should also be deducted in determining the profit realized from the sale, but at the hearing it did not introduce any evidence to support that contention.  Judgment will be entered on 15 days' notice, under Rule 50.